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                       UNITED STATES DISTRICT COURT

                       MIDDLE DISTRICT OF LOUISIANA


 FLORIDA GAS TRANSMISSION CIVIL ACTION
 COMPANY, LLC

 VERSUS

 8.22 ACRES, MORE OR LESS,
 SITUATED IN IBERVILLE PARISH,
 LOUISIANA, ET AL. NO. 24-00122-BAJ-RLB

                                        ORDER

       Considering the Joint Notice Of Settlement With M.otion For 60 Day

Dismissal Order (Doc. 27), which reflects that the parties have reached a

compromise and settlement of all claims in this matter, and requests a 60-day


conditional order of dismissal,


      IT IS ORDERED that this action be and is hereby DISMISSED, without

costs and without prejudice to the right, upon good cause shown, within 60 days, to


reopen the action if the settlement is not perfected.


      IT IS FURTHER ORDERED that upon perfection of settlement, the parties

shall immediately file a joint stipulation of dismissal consistent with the

requirements of Fed. R. Civ. P. 41(a)(l)(A)(ii).

                                   Baton Rouge, Louisiana, thisjlw_ day of April, 2024




                                                   (^   .CL
                                         JUDGE BRIAN A/JA^KSON
                                         UNITED STATES WSTRICT COURT
                                         MIDDLE DISTRICT OF LOUISIANA
